                                                                                                 Case 2:14-cv-04541-CAS-RZ Document 44 Filed 02/24/16 Page 1 of 3 Page ID #:381




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                                                                                                  19
                                                                                                                                 UNITED STATES DISTRICT COURT
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                                                                                                               CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
                                                                                                  21
                                                                                                  22
                                                                                                     KOOROS SHIMY, individually;               Case No. 2:14-cv-04541 CAS (RZx)
                                                                                                  23 MARSHA SHIMY, individually,
                                                                                                                                               JOINT MOTION FOR DISMISSAL
                                                                                                  24                    Plaintiffs,            OF ENTIRE ACTION
                                                                                                  25           vs.                             JUDGE:          Christina A. Snyder
                                                                                                                                               DEPT.:          5
                                                                                                  26 WRIGHT MEDICAL TECHNOLOGY,
                                                                                                     INC., a Delaware corporation; and         TRIAL:          March 22, 2016
                                                                                                  27 WRIGHT MEDICAL GROUP, INC., a
                                                                                                     Delaware corporation; ADVANCED
                                                                                                  28 SURGICAL DEVISES, INC., a
                                                                                                       KNLH\1479905.1                                                2:14-cv-04541 CAS (RZx)
                                                                                                                                                     JOINT MOTION FOR DISMISSAL OF ENTIRE
                                                                                                                                                                                    ACTION
                                                                                                 Case 2:14-cv-04541-CAS-RZ Document 44 Filed 02/24/16 Page 2 of 3 Page ID #:382




                                                                                                   1 California Corporation; WILLIAM
                                                                                                     ZUROWSKI, an individual; and DOES
                                                                                                   2 1 through 50,
                                                                                                   3                    Defendants.
                                                                                                   4
                                                                                                   5           TO THE COURT AND TO ALL PARTIES APPEARING OF RECORD:
                                                                                                   6           The parties, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii),
                                                                                                   7 hereby jointly move to dismiss this action with prejudice in its entirety. Each party
                                                                                                   8 to bear their respective costs, including any possible attorney fees or other expenses
                                                                                                   9 of litigation.
                                350 Tenth Avenue, Suite 1300 San Diego, California 92101 -8700




                                                                                                  10
Kirby Noonan Lance & Hoge LLP




                                                                                                  11 DATED: February 24, 2016                Respectfully submitted,
                                                                                                  12
                                                                                                                                             PANISH SHEA & BOYLE LLP
                                                                                                  13
                                                                                                  14
                                                                                                  15                                         By: /s/Peter Kaufman
                                                                                                  16                                             Peter Kaufman
                                                                                                                                                 Attorneys for Plaintiff
                                                                                                  17
                                                                                                  18 DATED: February 24, 2016                KIRBY NOONAN LANCE & HOGE LLP
                                                                                                  19
                                                                                                  20
                                                                                                  21                                         By: /s/Micaela P. Banach
                                                                                                                                                 Micaela P. Banach
                                                                                                  22                                             Attorney for Defendants
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                                                                                                       KNLH\1479905.1                                                     2:14-cv-04541 CAS (RZx)
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                                                                                                                                                          JOINT MOTION FOR DISMISSAL OF ENTIRE
                                                                                                                                                                                         ACTION
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                                                                                                                                       PROOF OF SERVICE
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                                                                                                                                                         DEPT:          5
                                                                                                   3                                                     JUDGE:         Christina A. Snyder
                                                                                                   4 Shimy v. Wright Medical Technology, Inc., et al.
                                                                                                     U.S.D.C. Central District of California Case No. 2:14-cv-04541 CAS (RZx)
                                                                                                   5
                                                                                                           I, the undersigned, declare: That I am, and was at the time of service of the
                                                                                                   6 papers herein referred to, over the age of eighteen years, and not a party to the
                                                                                                     action; and I am employed in the County of San Diego, California. My business
                                                                                                   7 address is 350 Tenth Avenue, Suite 1300, San Diego, California 92101-8700.
                                                                                                   8       On February 24, 2016, at San Diego, California, I served the following
                                                                                                     document(s) described as JOINT MOTION FOR DISMISSAL OF ENTIRE
                                                                                                   9 ACTION on the parties in said action as follows:
                                350 Tenth Avenue, Suite 1300 San Diego, California 92101 -8700




                                                                                                  10 Brian Panish (116060)                     Attorneys for Plaintiffs KOOROS
                                                                                                      panish@psblaw.com                        SHIMY and MARSHA SHIMY
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                                                                                                  15 Fx: 310-477-1699
                                                                                                  16
                                                                                                  17          ELECTRONIC TRANSMISSION: I filed the foregoing document with the
                                                                                                               Clerk of Court for the U.S. District Court Central District of California, using
                                                                                                  18           the Electronic Case Filing ("ECF") system of the Court. The attorney listed
                                                                                                               above has consented to receive service by electronic means and is registered
                                                                                                  19           with the Court's ECF system and was served a "Notice of Electronic Filing"
                                                                                                               sent by ECF system.
                                                                                                  20
                                                                                                              FEDERAL COURT: I declare under penalty of perjury under the laws of
                                                                                                  21           the United States of America that the foregoing is true and correct and that I
                                                                                                               am employed in the office of a member of the bar of this Court at whose
                                                                                                  22           direction the service was made.
                                                                                                  23           Executed on February 24, 2016, at San Diego, California.
                                                                                                  24
                                                                                                  25                                               /s/Micaela P. Banach
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                                                                                                       KNLH\1479905.1                                                       2:14-cv-04541 CAS (RZx)
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                                                                                                                                                            JOINT MOTION FOR DISMISSAL OF ENTIRE
                                                                                                                                                                                           ACTION
